Case 2:16-cr-00383-RHW Document4 Filed 06/07/16 Pagelof2 Page ID#:7

 

 

 

 

 

Memorandum
Subject: Date:
‘United States v. EDGAR HARO OSUNA June 7, 2016
To: From:
KIRY K. GRAY KATHY YU @ 2 2s
Clerk, United States District Court Assistant United States Attomey fam ©
Central District of California Criminal Division | a3 co
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as
The accompanying matter being filed on June 7, 2016 s m
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‘relates to _X_ does not relate to

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(1) a matter pending in the Criminal Division of the USAO at any time between October 2002 and October 5,2803,
the dates during which Jacqueline Chooljian was Chief of the Criminal Division in the USAO; (2) a matter pending |
in the Major Frauds Section of the USAO at any time between October 5, 2003 and January 6, 2006, the date on
which Jacqueline Chooljian resigned her appointment in the USAO; or (3) a matter in which Jacqueline Chooljian

was personally involved or on which she was personally consulted while employed in the USAO.

relates to X_ does not relate to

a matter in which Patrick J. Walsh was personally involved or on which he was personally consulted while
employed in the USAO.

relates to xX does not relate to

(1) a matter pending in the Riverside Branch of the USAO at any time between October 2, 2006 and April 4, 2011,
the dates spanning the date when Sheri Pym became the Chief of the Riverside Branch of the USAO and the date
when she resigned her appointment in the USAO; or (2) a matter in which Sheri Pym was personally involved or on
which she was personally consulted while employed in the USAO.

relates to X_ does not relate to

(1) a matter pending in the Major Frauds Section of the USAO at any time between May 8, 2009 and March 31,
2011, the dates spanning the date when Michael Wilner became a Deputy Chief of the Major Frauds Section of the
USAO and the date when he resigned his appointment in the USAO; or (2) a matter in which Michael Wilner was
personally involved or on which he was personally consulted while employed in the USAO.

relates to xX does not relate to

 
Case 2:16-cr-00383-RHW Document4 Filed 06/07/16 Page2of2 Page ID#:8

(1) a matter pending in the Appellate Section of the USAO at any time between February 2002 and May 2002, the
time period during which Jean Rosenbluth served as the Chief of the Appellate Section of the USAO; (2) a matter in
which Jean Rosenbluth was personally involved or on which she was personally consulted while employed in the
USAO (between October 1, 1995 and May 31, 2002 as an Assistant United States Attorney, and between August 1,
2002 and July 31, 2008 as a Special Assistant United States Attorney); (3) a matter in which current Assistant
United States Attorney Richard Robinson is or has been personally involved, or a matter on which he has personally
consulted while employed in the USAO; or (4) a matter pending in the Major Frauds Section of the USAO between
May 4, 2012 and August 14, 2015, the time period during which Richard Robinson served as the Chief of the Major

Frauds Section of the USAO.

relates to xX does not relate to

(1) a matter pending in the Major Frauds Section of the USAO at any time between December 2001 and August 20,
2013, the dates spanning the date when Alka Sagar became a Deputy Chief of the Major Frauds Section of the
USAO and the date when she resigned her appointment in the USAO; (2) a matter pending in the Major Crimes
Section of the USAO at any time between January 1991 and December 2001, the time period during which Alka
Sagar served as a Deputy Chief of the Major Crimes Section of the USAO; or (3) a matter in which Alka Sagar was
personally involved or on which she was personally consulted while employed in the USAO.

relates to xX does not relate to

(1) a matter pending in the Santa Ana branch of the USAO at any time between April 2007, to August 22, 2013, the
dates spanning the date when Douglas McCormick became a Deputy Chief of Santa Ana Branch of the USAO and
the date when he resigned his appointment in the USAO; or (2) a matter in which Douglas McCormick was
personally involved or on which he was personally consulted while employed in the USAO.

relates to X_ does not relate to

(1) a matter pending in the General Crimes Section of the USAO at any time between January 12, 2012, and April
30, 2015, the dates spanning the date when Rozella Oliver became a Deputy Chief of the General Crimes Section of
the USAO, and subsequently, Chief of the General Crimes Section of the USAO, and the date when she resigned her
appointment in the USAO; or (2) a matter in which Rozella Oliver was personally involved or on which she was
personally consulted while employed in the USAO; or (3) a matter in which current Assistant United States Attorney
Evan Davis is or has been personally involved, or a matter on which he has personally consulted while employed in

the USAO.
relates to xX does not relate to

a matter in which Gail J. Standish was personally involved or on which she was personally consulted while
employed in the USAO (from May 1997 to April 2001).

 

KATHY YU
Assistant United States Attorney

 
